                                                                                  Case 3:15-cv-01402-LB Document 31 Filed 02/12/16 Page 1 of 3




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                                                                       6
                                                                         Attorneys for Plaintiff
                                                                       7 DECORYAN WARNER

                                                                       8
                                                                                                      UNITED STATES DISTRICT COURT
                                                                       9
                                                                                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                      10
The Law Offices of John L. Burris




                                                                      11 DECORYAN WARNER, an individual,                         Case No.: 3:15-cv-01402-LB
                                    7677 Oakport Street, Suite 1120




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                                      Oakland, California 94621




                                                                                                                                 MOTION FOR VOLUNTARY
                                                                                                 Plaintiff,                      DISMISSAL AND [PROPOSED] ORDER
                                                                      13          vs.
                                                                      14 CITY OF HAYWARD, a municipal corporation;

                                                                      15 MICHAEL CRISTOL, individually and in his
                                                                         capacity as an officer for the Hayward Police
                                                                      16 Department; THOMAS SPILLNER, individually
                                                                         and in his capacity as an officer for the Hayward
                                                                      17 Police Department; JUSTIN FERREYRA,
                                                                         individually and in his capacity as an officer for
                                                                      18 the Hayward Police Department; ROBERT

                                                                      19 MARTINEZ, individually and in his capacity as
                                                                         an officer for the Hayward Police Department;
                                                                      20 MICHAEL NGUYEN, individually and in his
                                                                         capacity as an officer for the Hayward Police
                                                                      21 Department; TREVOR VONNEGUT,
                                                                         individually and in his capacity as an officer for
                                                                      22 the Hayward Police Department; MUSA

                                                                      23 ABEDRABBO, individually and in his capacity
                                                                         as an officer for the Hayward Police Department;
                                                                      24 CHRISTOPHER SUZUKI, individually and in
                                                                         his capacity as an officer for the Hayward Police
                                                                      25 Department; BRANDON TONG, individually
                                                                         and in his capacity as an officer for the Hayward
                                                                      26
                                                                         Police Department; RAYMOND SISSON,
                                                                      27 individually and in his capacity as an officer for
                                                                         the Hayward Police Department; JEFFREY
                                                                         SNELL, individually and in his capacity as an

                                                                           MOTION FOR VOLUNTARY DISMISSAL AND [PROPOSED] ORDER     3:15-cv-01402-LB

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                                                                                  Case 3:15-cv-01402-LB Document 31 Filed 02/12/16 Page 2 of 3




                                                                       1 officer for the Hayward Police Department and
                                                                         DOES 1-10, inclusive, individually, jointly and
                                                                       2 severally,
                                                                                               Defendants.
                                                                       3

                                                                       4

                                                                       5

                                                                       6

                                                                       7          In accordance with Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiff

                                                                       8 DECORYAN WARNER hereby voluntarily dismisses Defendants THE CITY OF

                                                                       9 HAYWARD; MICHAEL CRISTOL; THOMAS SPILLNER; JUSTIN FERREYRA;

                                                                      10
                                                                           ROBERT MARTINEZ; MICHAEL NGUYEN; TREVOR VONNEGUT; MUSA
The Law Offices of John L. Burris




                                                                      11
                                                                           ABEDRABBO; CHRISTOPHER SUZUKI; BRANDON TONG; RAYMOND SISSON;
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                                      Oakland, California 94621




                                                                           JEFFREY SNELL; and DOES 1-10. The parties have reached a settlement agreement and
                                                                      13

                                                                      14 dismissal should be granted pursuant to Federal Rule of Civil Procedure 41(a)(2).

                                                                      15

                                                                      16

                                                                      17 Dated: February 10, 2016                       THE LAW OFFICES OF JOHN L. BURRIS
                                                                      18
                                                                                                                        By____/s/DeWitt M. Lacy________
                                                                      19                                                      DeWitt M. Lacy
                                                                                                                              Attorney for Plaintiff
                                                                      20                                                      DECORYAN WARNER
                                                                      21
                                                                           Dated: February 10, 2016                      MICHAEL S. LAWSON, City Attorney
                                                                      22

                                                                      23
                                                                                                                        By: _*/s/___________________________
                                                                      24                                                   Justin Nishioka, Deputy City Attorney
                                                                                                                           Attorneys for Defendant CITY OF
                                                                      25                                                   HAYWARD, ET AL.
                                                                                                                           *Mr. Nishioka has given his permission for
                                                                      26                                                   this document to be electronically filed.
                                                                      27



                                                                           MOTION FOR VOLUNTARY DISMISSAL AND [PROPOSED] ORDER   3:15-cv-01402-LB

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                                                                                      Case 3:15-cv-01402-LB Document 31 Filed 02/12/16 Page 3 of 3




                                                                       1                                       [PROPOSED] ORDER

                                                                       2          Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiff DECORYAN

                                                                       3 WARNER’s Motion for Voluntary Dismissal is granted. The action is herewith ordered

                                                                       4 dismissed.

                                                                       5
                                                                           IT IS SO ORDERED.
                                                                       6

                                                                       7
                                                                                            12
                                                                           Dated: February ____, 2016                            ___________________________________
                                                                       8                                                            HONORABLE LAUREL BEELER
                                                                       9

                                                                      10

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                                                                           MOTION FOR VOLUNTARY DISMISSAL AND [PROPOSED] ORDER   3:15-cv-01402-LB

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